                          EXHIBIT

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                          THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                          Civil Action No. 1:14-CV-00954-LCB-JLW


STUDENTS FOR FAIR ADMISSIONS,                  )
INC.,                                          )
                                               )
        Plaintiff,                             )
                                               )
v.                                             )
                                               )
UNIVERSITY OF NORTH CAROLINA,                  )             DECLARATION OF
et al.,                                        )          ADRIAN C. DOUGLASS, M.D.
                                               )
        Defendants,                            )
                                               )
and                                            )
                                               )
LUIS ACOSTA; ANDREW BRENNAN,                   )
CHRISTOPHER JACKSON on behalf of               )
C.J.; RAMONIA JONES on behalf of R.J.;         )
JULIA NIEVES on behalf of I.N.; ANGIE &        )
KEVIN MILLS on behalf of Q.M.; LAURA           )
ORNELAS; CECILIA POLANCO;                      )
TAMIKA WILLIAMS on behalf of A.J.;             )
and STAR WINGATEBEY                            )
                                               )
                                               )
        Defendant-Intervenors.                 )
                                               )


        Adrian C. Douglass, M.D., pursuant to 28 U.S.C. § 1746, declares the following:

        1. My name is Adrian C. Douglass, M.D. I am over 18 years of age, and I am fully

competent to make this declaration.

        2. I was a full-time undergraduate student at UNC-Chapel Hill during the period of

1979-1983. While at UNC, my major was Chemistry.

        3. I am African-American.




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        4. My reasons for attending UNC-Chapel Hill were numerous, but its affordability and

history of academic excellence were paramount to my decision. It was, and remains, a value to

students because of its fair cost and the high quality of its education. Furthermore, it was a

reasonable drive from my coastal home town of Elizabeth City. During my senior year of high

school, I spent a weekend in Chapel Hill with an African-American freshman.               After

experiencing a taste of college life at UNC-Chapel Hill firsthand, I was enamored with the

diverse student body of the South Campus and its strong atmosphere of comradery. It helped me

develop a sense of belonging, and I was certain that I could achieve both social and academic

success at Chapel Hill.

        5. My years spent as an undergraduate at UNC were among the most delightful of my

life, as they cultivated me to grow both as a young man and as a scholar. Although I had the

opportunity to receive a world-class education, there was only a marginal presence of African-

Americans on the North Campus where I resided.            Incidentally, my demographic was

underrepresented in my dormitory and classes.        I combated my feelings of isolation by

frequenting the South Campus area to visit my African-American friends and take part in cultural

activities.

        6. I also benefited from the academic support provided by the Minority Advisory

Program, a service extended by successful minority upperclassmen to incoming minority

freshmen.

        7. Finally, I chose to join Kappa Alpha Psi Fraternity, Inc., a historically Black

fraternity that served as a supportive organization during my tenure as an undergraduate. I

successfully graduated in May of 1983 with a B.A. in Chemistry and was accepted into Chapel

Hill’s school of medicine. I eventually graduated with a Doctorate of Medicine.




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      8. I contend that my success at Chapel Hill directly correlated with the presence of the

diverse academic environment.

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